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                               UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF OKLAHOMA



                                            Plaintiff(s)

vs.                                                                        Case Number:


                                        Defendant(s)


                                                           Appearance


To the Clerk of this court and all parties of record:

I am admitted or otherwise authorized to practice in this court, and I appear in this case for:




Date                                                           Signature

Type of Appointment:       Retained            CJA
                                                               Print Name

             FPD           Pro Bono            Pro Se
                                                               Firm Name



                                                               Mailing Address



Oklahoma State Bar Number (If Applicable)                      City                                  State      Zip Code



e-mail address                                                 Phone Number                       Fax Number




Appearance                                                     1                                             AO-458-Modified (10/09)
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Appearance                                                2                                      AO-458 Modified (10/09)
